

Matter of Attorneys in Violation of Judiciary Law § 468-a (Shin) (2024 NY Slip Op 02247)





Matter of Attorneys in Violation of Judiciary Law § 468-a (Shin)


2024 NY Slip Op 02247


Decided on April 25, 2024


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:April 25, 2024

PM-73-24
[*1]In the Matter of Attorneys in Violation of Judiciary Law § 468-a. Attorney Grievance Committee for the Third Judicial Department, Petitioner; Catherine Sunae Shin, Respondent. (Attorney Registration No. 4091294.)

Calendar Date:March 11, 2024

Before:Pritzker, J.P., Lynch, Reynolds Fitzgerald, Fisher and Powers, JJ., concur. 

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.
Tesser, Ryan &amp; Rochman, LLP, White Plains (Randall Tesser of counsel), for respondent.



Motion by respondent for an order reinstating her to the practice of law following her suspension by October 2021 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 198 AD3d 1068, 1085 [3d Dept 2021]; see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).
Upon reading respondent's affidavit with exhibits sworn to January 31, 2024, and the March 4, 2024 correspondence from the Attorney Grievance Committee for the Third Judicial Department, and having determined, by clear and convincing evidence, that (1) respondent has satisfied the requirements of Rules of the Appellate Division, Third Department (22 NYCRR) § 806.16 (c) (5), (2) respondent has complied with the order of suspension and the rules of this Court, (3) respondent has the requisite character and fitness to practice law, and (4) it would be in the public interest to reinstate respondent to the practice of law (see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16 [a]), it is
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effective immediately.
Pritzker, J.P., Lynch, Reynolds Fitzgerald, Fisher and Powers, JJ., concur.








